              Case 2:15-cr-01515-RB Document 450-11 Filed 06/15/18 Page 1 of 2


                                                               Linesheet                                                      User:        Janett Rios



     Case:   MS-14-0093                 575956566&'t2021 4                Line:                                     Number:

     A,/O: "l'M SORRY THE PERSON YOU ARE TRYING TO REACH HAS A VO|CE..."
     CG




Session:             639              Date:                  12t10t2014           Classification: Non-Pertinent        Duratlon:      00:00:33
Monitored By:                         Start Time:            18:25:02 MST         Complete:         Not Completed      Directlon:     lncoming
ln   Digits:         5753131306       Asscociate Number:     (575) 313-1306       Participants:     PADILLA, TOBY
                                                                                                    SAMANTHA




     GHOST CALL
     CG




Session:             &40              Date:                  12t10t2014           Classificatlon    Non-Pertinent      Duratlon:      00:00:38
Monitored    By:     claudiag         Start Time:            18:25:48 MST         Gomplete:         Completed          Dirsctlon:     Outgoing
Out   Digits:        5753131306       Asscociate Number:     (575) 313-1306       Particlpants:     PADILLA, TOBY
                                                                                                    SAMANTHA


    o ls
 TOBY TO SAMANTHA
 SAMANTHA ASKED IF TOBY HAD MARY ASK TO USE SAMANTHA'S FOOD STAMP CARD. TOBY
 SAID SANDRA MIGHT HAVE. SAMANTHA ASKED TOBY TO HAVE MARY TAKE IT (FOOD STAMP
 CARD) BACK, BECAUSE SAMANTHA NEEDED TO BUY MILK FOR SOFIA BEFORE SAMANTHA
 LEAVES. TOBYAGREED.
 IEND OF CALLI
 CG




Sesslon: Atl                          Date:                  12t10t2014           Classification:   Pertinent       Duration:        00:01:56
lllonitored By: claudiag              Start Time:            18:46:02 MST         Complete:         Not   Completed Direction:       lncoming
ln   Digits:         5755742491       Asscoclate Number:     (575) 574-2491       Participants:     PADILLA,TOBY
                                                                                                    TT3 DANIEL JACQUEZ AKA DAN/DANNY


   o
 DAN TO TOBY
 PARTIES GREETED. DAN TOLD TOBY THAT DAN TRIED CALLING TOBY IN THE MORNING, BUT I
 GUESS TOBY WAS SLEEPING. TOBY ACKNOWLEDGED, AND COMPLAINED ABOUT HIS PHONE
 ACTING UP. TOBYASKED !F DAN GOT THAT [NFI]ALREADY, OR WHAT. DAN AFFIRMED, AND
 ASKED TOBY TO SEND HOMES [UNK]. TOBYAGREED TO SEND HtM [UNK] RTGHT NOW.

                                  -   GOVERNMENT
                                        EXHIBlr

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                                          lll                        U.S. v. Ja           uez et al         linesheets        1481
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                                                                 Linesheet                                                    User:      Janett Rios



     Gase:   MS-14-0093           Target:   575956566&120214                Line: 5759565668-120214            File Number:

     TOBY ASKED DAN WHAT THEY [UNKI HAD SENT THIS TIME, IF THE SAME. DAN AFFIRMED, AND
     SAID THAT THEY TUNKI SAID THAT IF DAN ET AL GO OVER THERE [NFI]AND PAY CASH, THAT
     THEY TUNKIWLL DO THE WHOLE THING FOR EIGHT. TOBY ACKNOWLEDGED, AND ASKED DAN
     WHAT THE DEAL WAS WITH THAT OTHER GUY IUNKJ, FROM THAT OTHER PLACE (CALIFORNIA).
     DAN SAID THEY TUNKI GOT IT, AND WANT DAN TO GO UP THERE ON SATURDAY TO TALK TO
     THEM IUNK]. DAN SAID HE (DAN) WAS GOING. TOBY ACKNOWLEDGED THAT DAN WAS GOING
     TO GO TALK TO THEM [UNK], AND SAID THAT WAS GOOD.
     TOBY TOLD DAN TO LET TOBY KNOW IF DAN NEEDS A DRIVER. DAN AFFIRMED, AND SAID DAN
     WAS GOING TO GO TALK TO THEM [UNKI, AND IF EVERYTHING WORKS OUT, THEN DAN WLL
     GIVE TOBY A CALL. TOBY AGREED. [ASIDE: TOBY ASKED IF MAR! HAD TAKEN THE CARD (EBT)
     BACK TO SAMANTHA.] [BACKGROUND: MARI SAID YES.] DAN SAID HE WANTED TO MAKE SURE
     THEY [UNKIWEREN'T BULLSHITTING, AND THAT WAS THE REASON DAN WAS GOING (TO TALK
     TO THEM). [ASIDE: TOBY ASKED lF UNKNO!\AI PERSON HAD GIVEN THE KEYS TO FREDDY.
     TOBY THEN ADDED THAT HE [UNK] NEEDED TO GO DO SOMETHING FOR TOBy.l TOBY SAID HE
     (TOBY) WAS SENDTNG HIM IUNKI RrGHT NOW. DAN AGREED.
     IEND OF CALLI
     CG




Sesslon:             643               Date:                   12110120't4       Classifi   cation: Non-Pertinent     Duratlon:     00:30:00
ilonitored By: claudiag                Start Time:             18:46:03 MST      Complete:          Not Completed     Dlrectlonr    lncoming
ln   Digits:         5755199338        Asscociate Number:      (s7s) 51S-9s38    Partlclpants:      DANNY
                                                                                                    PADILLA, TOBY


Synopsis
 DATA ONLY CALL/ NO AUDIO
 CG



Seeslon:             u4                Date:                   12t10t2014                :
                                                                                 Classifi cation    Non-Pertinent     Duratlon:     00:00:Od
Monltored By:                          Start Time:             18:46:04 MST      Complete:          Not Completed     Dlrectlon:    lncoming
ln Dlglts:           5755199338        Asscociate Number:      (575) 519-9338    Participants:      DANNY
                                                                                                    PADILLA, TOBY


    o Is
 GHOST CALL
 CG



Session:             642               Date:                   12t10DO14         Classiflcation     Non-Pertinent Duratlon:         00:01:43
Monitored By:                          Start Time:             18:46:14 MST      Complete:          Completed Directlon:            Incoming
ln   Digits:         5755742491        Asscociate Number:      (575) 57+2491     Participants:     PADILLA, TOBY
                                                                                                   TT3 DANIEL JACQUEZ AKA DAN/DANNY


                                                                        U.S. v. Jacquez et al. (linesh eets) 1482
07 11612015    1 1   :50:53 MDT                                                                                                    202 ol 870
